Case 2:04-cr-20059-.]PI\/| Document 90 Filed 07/25/05 Page 1 of 2 Page|D 109

 

IN THE UNITED s'rATEs DIs'rRIc'r couR'r wBY-- _W__g,e
FoR THE wEsTERN DIsTR:cT or TENNESSEE `
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UNITED sTATEs oF AMERICA TN.MENPI~IS

Plaintiff,
VS. CR. NO. 04-20059-Ml

ANTHONY RI CH.ARDSON
Defendant.

~_»-_/` ,~._,~._r-._r-._¢-._r\-._¢

 

ORDER ON CHANGE OF PLEA

 

This cause came on to be heard on July 22, 2005, the United States
Attorney for this district, David Pritchard, appearing for the
Government and the defendant, Anthony Richardson, appearing in person
and with counsel, Michael Stengel, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count l of the
Indiotment .

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for }'."RZI§]JA‘.[,l AUGUST 26, 2005, at
10:30 a.m., before Judge Jon Phipps McCalla.

Defendant is remanded to the custody of the U. S. Marshal.

ENTERED this the ég.day of Juiy, 2005.

am‘ (LQQ,

JO PHIPPS MCCALLA
ITED STATES DISTRICT COURT

 

Thls document entered on the docket sheet 9 compliance
with Flute 55 and/or 32('0) FHCrP on '

       

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This notice confirms a copy of the document docketed as number 90 in
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David Pritchard

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Honorable J on McCalla
US DISTRICT COURT

